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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                       CASE NO.: 19-cv-22864-COOKE/GOODMAN

  JUAN COLLINS and JOHN FOWLER, on
  behalf of themselves and all others
  similarly situated,

         Plaintiff,

   v.

  QUINCY BIOSCIENCE, LLC,
  a Wisconsin limited liability company,

         Defendant.
                                           /

  PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY SUPPORTING THEIR
      OPPOSITION TO DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
      COMPLAINT AND TO STRIKE THE CLASS ALLEGATIONS THEREIN

         Plaintiffs submit as supplemental authority in support of their opposition to Quincy’s
  motion to dismiss the amended complaint, [ECF No. 27], the report and recommendations
  recommending the denial of Quincy’s motion to dismiss in Max Engert, et al. v. Quincy
  Bioscience, LLC, et al., No. 1:19-cv-00183-LY, ECF No. 30 (W.D. Tex. Oct. 8, 2019), a copy
  of which is attached as Exhibit A.
         The court in Engert refused to consider the Madison Memory Study in deciding the
  motion to dismiss, finding that although Quincy’s advertisements are clearly integral to
  Plaintiffs’ claims, the Madison Memory Study was not central to Plaintiff’s claims. Ex. A, 6.
  The Engert court further found that the Madison Memory Study’s reliability was a disputed
  issue of fact and therefore not appropriate for determination in a Rule 12(b)(6) motion to
  dismiss, and concluded that “Defendant’s argument that all of Plaintiffs’ claims should be
  dismissed based on the Study is meritless.” Ex. A, 8.
         Moreover, the Engert court found that Plaintiffs have pled the “who, what, when,
  where, and how” of their Texas Deceptive Trade Practices Act claim with the requisite


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  specificity required by Rule 9(b) by alleging (1) that “Defendant made false and misleading
  statements regarding Prevagen in television commercials, on Prevagen’s packaging, and on
  its bottle label;” (2) false and misleading statements made by Defendant: “Prevagen improves
  memory; supports healthy brain function, sharper mind, and clearer thinking; and has been
  clinically shown to improve memory within 90 days;” (3) the “when and where they were
  exposed to the alleged false and misleading statements;” and (4) “that Prevagen cannot do
  what Defendant claims because it is fully digested and cannot affect the brain.” Ex. A, 9–10
  (citing Racies v. Quincy Bioscience, LLC, No. 4:15-cv-00292-HSG, 2015 WL 2398268, at *4
  (N.D. Cal. May 19, 2015), and FTC v. Quincy Bioscience Holding Company, Inc., 753 F. App’x
  87, 89 (2d Cir. 2019) with approval in making its findings).
         Finally, the Engert Court rejected Quincy’s argument “that Plaintiffs cannot bring a
  lack of substantiation claim in this case because only the government can bring such claims,”
  concluding that “Plaintiffs’ FAC does not raise a lack of substantiation claim in this case; nor
  are they attempting to bring a claim under the FTC Act. Accordingly, this argument is also
  without merit.” Ex. A., 13–14 (citations omitted).

          Dated: October 11, 2019                     Respectfully submitted,

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                                                     Counsel for Plaintiffs and the Class




                                 CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on October 11, 2019, I electronically filed the foregoing
   with the Clerk of the Court for the United States District Court, Southern District of Florida,
   by using the CM/ECF system, which will serve a copy of this notice on all counsel of
   record.

                                               By: /s/ Adam Moskowitz
                                                  Adam M. Moskowitz




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